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                                                                       UNITED STATES DISTHICT COURT
                                                                        ALBUQUERQUE, NEW MEXICO


                        IN THE UNITED STATES DISTzuCT             COURT           SEP 1 4 2|,?I


                             FOR THE DISTRICT OF NEW          MEXICO        MITCHELL R. ELFERS
                                                                                  CLERK
 LINITED STATES OF AMERICA,

                Plaintifl                              .RIMINAL    *"e21'\42)Q                 fW/
        vs.                                            Count 1:21 U.S.C. $$ 8a1(a)(1) and
                                                       (b)(t)(S): Possession with Intent to
 EPIF'AI\-IO ESPINOSA,                                 Distribute 50 Grams and More of a
                                                       Mixfure and Substance Containing
                Defendant.                             Methamphetamine;

                                                       Count 2:                       )
                                                                 78U.S.C. $$ 922(g)(1 and92A:
                                                       Felon in Possession of a Firearm and
                                                       Ammunition.


                                      INDICTMENT
The Grand Jury charges:

                                             Count I

       On or about August 25,2021,, in Bernalillo County, in the Dishict of New Mexico, the

defendant, EPIF'ANIO ESPINOSA, unlawfirlly, knowingly and intentionally possessed with

intent to distribute a controlled substance, and the of[ense involved 50 grams and more of a

mixture and substance containing a detectable amount of methamphetamine.

       In violation of 21 U.S.C. $$ 8a1(a)(1) and (bX1XB).

                                             Count 2

       On or about August 25t,2027,in Bernalillo County, in the District of New Mexico, the

defendant, EPIFANIO ESPINOSA, knowing that he had been convicted of at least one crime

punishable by imprisonmeflt for a term exceeding one year, specifically possession of a

controlled substance (two counts), knowingly possessed a firearm and ammunition in and

affecting cofilmerce.
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        In violation of 1 8 U.S.C. $$ 922(g)(1) and 92a.

                                   FORIEITURE ALLEGATION

       Upon conviction of any offense in violation of 21 U.S.C. $ 841, the defendant,

EPIX'ANIO ESPINOSA, shall forfeit to the United States, pursuant to 21 U.S.C. $ 853, any

property constituting, or derived from, any proceeds obtained, directly or indirectly, as the result

of such offense and any property used, or intended to be used, in any manner or part, to commit,

or to facilitate the eommission   of   the offense. The properly to be forfeited includes, but is not

limited to:

        a.    a Walther P22 handgun, and

        b.    amagazineloaded with ammunition.

        Upon conviction of any offense in violation of 18 U.S.C. $ 922(9), the defendant,

EPIFANIO ESPINOSA, shall forfeit to the United           States, pursuant   to   18 U.S.C. $ 92a(d) and


28 U.S.C. $ 2461(c), any firearrn and ammunition involved in the commission of the offense(s),

including, but not limited to:

        a.    a Walther P22 handgtrn, and

        b.    amagazine loaded with ammunition.

                                                         A TRI]E BILL:



                                                                            OF THE GRAND JURY
